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              EXHIBIT C
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                       International         International
                       Court of Arbitration® Centre for ADR
                       Leading Dispute Resolution Worldwide




             Arbitration Rules
              In force as from 1 January 2021


             Mediation Rules
              In force as from 1 January 2014
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     ICC ARBITRATION RULES
     COMMENCING THE ARBITRATION




          c)	any relevant agreements and, in particular, the
              arbitration agreement(s); and
          d) 	where counterclaims are made under more than
              one arbitration agreement, an indication of the
              arbitration agreement under which each
              counterclaim is made.
     	The respondent may submit such other documents
       or information with the counterclaims as it considers
       appropriate or as may contribute to the efficient
       resolution of the dispute.
     6	The claimant shall submit a reply to any counterclaim
        within 30 days from receipt of the counterclaims
        communicated by the Secretariat. Prior to the
        transmission of the file to the arbitral tribunal, the
        Secretariat may grant the claimant an extension of
        time for submitting the reply.

     ARTICLE 6

     Effect of the Arbitration Agreement
     1	
       Where the parties have agreed to submit to
       arbitration under the Rules, they shall be deemed
       to have submitted ipso facto to the Rules in effect
       on the date of commencement of the arbitration,
       unless they have agreed to submit to the Rules in
       effect on the date of their arbitration agreement.
     2	
       By agreeing to arbitration under the Rules, the
       parties have accepted that the arbitration shall be
       administered by the Court.
     3 	If any party against which a claim has been made
         does not submit an Answer, or if any party raises one
         or more pleas concerning the existence, validity or
         scope of the arbitration agreement or concerning
         whether all of the claims made in the arbitration may
         be determined together in a single arbitration, the
         arbitration shall proceed and any question of
         jurisdiction or of whether the claims may be
         determined together in that arbitration shall be
         decided directly by the arbitral tribunal, unless the
         Secretary General refers the matter to the Court for
         its decision pursuant to Article 6(4).




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                                                                        ARBITRATION
          4	In all cases referred to the Court under Article 6(3),
             the Court shall decide whether and to what extent
             the arbitration shall proceed. The arbitration shall
             proceed if and to the extent that the Court is
             prima facie satisfied that an arbitration agreement
             under the Rules may exist. In particular:
             (i)	
                 where there are more than two parties to the
                 arbitration, the arbitration shall proceed between
                 those of the parties, including any additional
                 parties joined pursuant to Article 7(1), with
                 respect to which the Court is prima facie satisfied
                 that an arbitration agreement under the Rules
                 that binds them all may exist; and
             (ii)	
                  where claims pursuant to Article 9 are made
                  under more than one arbitration agreement, the
                  arbitration shall proceed as to those claims with
                  respect to which the Court is prima facie satisfied
                  (a) that the arbitration agreements under which
                  those claims are made may be compatible, and
                  (b) that all parties to the arbitration may have
                  agreed that those claims can be determined
                  together in a single arbitration.
          	
           The Court’s decision pursuant to Article 6(4) is
           without prejudice to the admissibility or merits of
           any party’s plea or pleas.
          5	
            In all matters decided by the Court under
            Article 6(4), any decision as to the jurisdiction of the
            arbitral tribunal, except as to parties or claims with
            respect to which the Court decides that the
            arbitration cannot proceed, shall then be taken by
            the arbitral tribunal itself.
          6	Where the parties are notified of the Court’s decision
             pursuant to Article 6(4) that the arbitration cannot
             proceed in respect of some or all of them, any party
             retains the right to ask any court having jurisdiction
             whether or not, and in respect of which of them,
             there is a binding arbitration agreement.
          7	
            Where the Court has decided pursuant to
            Article 6(4) that the arbitration cannot proceed in
            respect of any of the claims, such decision shall not
            prevent a party from reintroducing the same claim at
            a later date in other proceedings.




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     ICC ARBITRATION RULES
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     8	If any of the parties refuses or fails to take part in the
        arbitration or any stage thereof, the arbitration shall
        proceed notwithstanding such refusal or failure.
     9	Unless otherwise agreed, the arbitral tribunal shall
        not cease to have jurisdiction by reason of any
        allegation that the contract is non-existent or null
        and void, provided that the arbitral tribunal upholds
        the validity of the arbitration agreement. The arbitral
        tribunal shall continue to have jurisdiction to
        determine the parties’ respective rights and to
        decide their claims and pleas even though the
        contract itself may be non-existent or null and void.




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